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                     United States Court of Appeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
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  LYLE W. CAYCE         ġ                                          TEL. 504-310-7700
  CLERK                 ġ                                       600 S. MAESTRI PLACE,
                        ġ                                               Suite 115
                                                               NEW ORLEANS, LA 70130

                                 March 16, 2022
 MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 22-30087        State of Louisiana v. Biden
                            USDC No. 2:21-CV-1074

 Enclosed is an order entered in this case.


                                      Sincerely,
                                      LYLE W. CAYCE, Clerk



                                      By: _________________________
                                      Melissa V. Mattingly, Deputy Clerk
                                      504-310-7719
 Mr.   Cody T. Knapp
 Mr.   Matthew F. Kuhn
 Mr.   Justin Lee Matheny
 Mr.   Tony R. Moore
 Ms.   Elizabeth Baker Murrill
 Mr.   Stephen John Petrany
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 Ms.   Lindsay Sara See
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                United States Court of Appeals
                     for the Fifth Circuit                                 United States Court of Appeals
                                                                                    Fifth Circuit

                                                                                  FILED
                                                                             March 16, 2022
                                        No. 22-30087                         Lyle W. Cayce
                                                                                  Clerk

       The State of Louisiana, by and through its Attorney General, Jeff
       Landry; The State of Alabama, by and through its Attorney General,
       Steve Marchall; The State of Florida, by and through its Attorney
       General, Ashley Moody; The State of Georgia, by and through its
       Attorney General, Christopher M. Carr; The Commonwealth of
       Kentucky, by and through its Attorney General, Daniel Cameron; The
       State of Mississippi, by and through its Attorney General, Lynn Fitch;
       The State of South Dakota, by and through its Governor, Kristi
       Noem; The State of Texas, by and through its Attorney General, Ken
       Paxton; The State of West Virginia, by and through its Attorney
       General, Patrick Morrisey; The State of Wyoming, by and through its
       Attorney General, Bridget Hill,

                                                                 Plaintiffs—Appellees,

                                            versus

       Joseph R. Biden, Jr., in his official capacity as President of the United
       States; Cecilia Rouse, in her official capacity as Chairwoman of the Council
       of Economic Advisers; Shalanda Young, in her official capacity as Acting
       Director of the Office of Management and Budget; Kei Koizumi, in his official
       capacity as Acting Director of the Office of Science and Technology Policy; Janet
       Yellen, Secretary, U.S. Department of Treasury; Deb Haaland,
       Secretary, U.S. Department of the Interior; Tom Vilsack, in his official
       capacity as Secretary of Agriculture; Gina Raimondo, Secretary, U.S.
       Department of Commerce; Xavier Becerra, Secretary, U.S. Department of
       Health and Human Services; Pete Buttigieg, in his official capacity as
       Secretary of Transportation; Jennifer Granholm, Secretary, U.S.
       Department of Energy; Brenda Mallory, in her official capacity as
       Chairwoman of the Council on Environmental Quality; Michael S. Regan,
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       in his official capacity as Administrator of the Environmental Protection Agency;
       Gina McCarthy, in her official capacity as White House National Climate
       Advisor; Brian Deese, in his official capacity as Director of the National
       Economic Council; Jack Danielson, in his official capacity as Executive
       Director of the National Highway Traffic Safety Administration; United
       States Environmental Protection Agency; United
       States          Department          of      Energy;       United         States
       Department              of    Transportation;             United        States
       Department of Agriculture; United States Department
       of Interior; National Highway Traffic Safety
       Administration; Interagency Working Group on Social
       Cost of Greenhouse Gases,

                                                              Defendants—Appellants.


                       Appeal from the United States District Court
                          for the Western District of Louisiana
                                USDC No. 2:21-CV-1074


       Before Southwick, Graves, and Costa, Circuit Judges.
       Per Curiam:
              IT IS ORDERED that the opposed motion of Appellants for stay
       pending appeal is GRANTED.
              When federal agencies promulgate regulations or take other agency
       action with economically significant effects, they conduct a cost-benefit
       analysis. This has been done since the Carter administration, although
       presidential oversight of regulatory action through a systematic review
       process began as early as the Nixon administration. In 1993, President
       Clinton issued Executive Order 12866 which, among other things, mandates
       the prepublication review process for economically significant regulations.
       Exec. Order No. 12866, 58 Fed. Reg. 51,735, 51,736, 51,741 (Sep. 30, 1993).
       EO 12866 also states “[e]ach agency shall assess both the costs and the
       benefits of the intended regulation and, recognizing that some costs and




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       benefits are difficult to quantify, propose or adopt a regulation only upon a
       reasoned determination that the benefits of the intended regulation justify its
       costs.” Later administrations retained EO 12866’s commitment to cost-
       benefit analyses and strengthened it with additional directives or guidelines
       for regulatory analysis.
              In 2003, the Office of Management and Budget (OMB) issued
       Circular A-4 to provide guidance to agencies on how to conduct the cost-
       benefit analysis implemented by EO 12866. See OMB Circular A-4 (Sept. 17,
       2003). Compliance with Circular A-4 is not required by any statute or
       regulation and is not binding on any agency.
              In conducting cost-benefit analyses, agencies consider the impact of
       the emissions of greenhouse gases. The impact of these emissions on various
       factors like health, agriculture, and sea levels, can be quantified into dollar
       amounts per ton of gas emitted—i.e., the Social Cost of Greenhouse Gases
       (SC-GHG).
              To encourage consistency in determining SC-GHG, in 2009,
       President Obama instituted the Interagency Working Group (IWG) to
       develop a method for quantifying the costs and effects of emissions. In 2010,
       the IWG developed a method to quantify GHG emissions into social costs
       estimates based on peer-reviewed frameworks.
              In 2017, President Trump disbanded the IWG and its method for
       quantifying SC-GHG in Executive Order 13783. Exec. Order No. 13783, 82
       Fed. Reg. 16,093, 16,095 (March 31, 2017). That order still contemplated,
       however, that agencies would continue to “monetize the value of changes in
       greenhouse gas emissions resulting from regulations” and that estimates
       would be consistent with Circular A-4 (to the extent permitted by law). 82
       Fed. Reg. 16,096.




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              In January 2021, President Biden signed Executive Order 13990 and
       reinstated the IWG to advise him on the SC-GHG. See Exec. Order No.
       13990, 86 Fed. Reg. 7,037, 7,040, § 5(b)(ii)(A) (Jan. 20, 2021). The IWG was
       also directed to develop new estimates for the SC-GHG, and until those new
       estimates are published, to develop Interim Estimates within 30 days, as
       appropriate and consistent with applicable law. Pursuant to EO 13990,
       agencies must use the Interim Estimates when they conduct cost-benefit
       analyses for regulatory or other agency action. The IWG published the
       Interim Estimates in February 2021. The Interim Estimates are the same as
       the SC-GHG estimates from 2016, adjusted for inflation.
              The Plaintiff States sued the United States’ Government Defendants
       in April 2021 to preemptively challenge the Interim Estimates. They claim
       the Interim Estimates will lead to increased regulatory burdens when
       agencies conduct cost-benefit analyses. The Plaintiff States therefore
       brought several challenges to Interim Estimates pursuant to the
       Administrative Procedures Act (APA). The Plaintiff States’ claims are
       premised solely on the broad use of the Interim Estimates. They do not
       challenge any specific regulation or other agency action.
              In February 2022, the district court entered a preliminary injunction
       enjoining the Government Defendants from using, in any manner, the
       Interim Estimates. The Government Defendants move to stay the injunction
       pending appeal arguing, among other things, the Plaintiff States lack
       standing, their claims are not ripe, and the Interim Estimates are not final
       agency action under the APA. Because we conclude the Government
       Defendants have made a strong showing that they are likely to succeed on the
       merits, and the balance of harms to the parties favors granting the stay, we
       GRANT the Government Defendants’ motion.




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              Whether to enter a stay is left to the court’s discretion. See Nken v.
       Holder, 556 U.S. 418, 434 (2009). That discretion is bound to four factors:
       “(1) whether the stay applicant has made a strong showing that he is likely to
       succeed on the merits; (2) whether the applicant will be irreparably injured
       absent a stay; (3) whether issuance of the stay will substantially injure the
       other parties interested in the proceeding; and (4) where the public interest
       lies.” Id. (citation omitted). The first two factors “are the most critical.” Id.
              The Government Defendants are likely to succeed on the merits
       because the Plaintiff States lack standing. The Plaintiff States’ claimed injury
       is “increased regulatory burdens” that may result from the consideration of
       SC-GHG, and the Interim Estimates specifically. This injury, however,
       hardly meets the standards for Article III standing because it is, at this point,
       merely hypothetical. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)
       (stating “injury in fact” is “an invasion of a legally protected interest which
       is (a) concrete and particularized . . . and (b) actual or imminent, not
       conjectural or hypothetical” (internal quotation marks and citations
       omitted)); Spokeo, Inc. v. Robins, 578 U.S. 330, 339–40 (2016) (requiring an
       injury to actually exist and affect a plaintiff in a “personal and individual
       way”). The Government Defendants are also likely to succeed in showing
       that the Plaintiff States have failed to meet their burden on causation and
       redressability. The increased regulatory burdens the Plaintiff States fear will
       come from the Interim Estimates appear untraceable because agencies
       consider a great number of other factors in determining when, what, and how
       to regulate or take agency action (and the Plaintiff States do not challenge a
       specific regulation or action). See Clapper v. Amnesty Int’l USA, 568 U.S. 398,
       411–13 (2013) (assuming claimed injury was imminent pursuant to Lujan but
       noting redressability was absent because there was a number of other
       methods to inflict the same injury which were not challenged in the case).




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              The Interim Estimates on their own do nothing to the Plaintiff States.
       So we discern no injury that would satisfy Article III at this stage. See
       Summers v. Earth Island Inst., 55 U.S. 488, 493 (2009) (concluding
       organizations lacked standing because among other things, the plaintiffs were
       not the subject of the challenged regulations). The Plaintiff States’ claims
       therefore amount to a generalized grievance of how the current
       administration is considering SC-GHG. And that fails to meet the standards
       of Article III standing. See Lujan, 504 U.S. at 568 (“[R]espondents chose to
       challenge a more generalized level of Government action,” instead of
       “specifically identifiable Government violations of law,” which is “rarely if
       ever appropriate for federal-court adjudication.” (citation omitted)).
              The Government Defendants have shown they will be irreparably
       harmed absent a stay. The preliminary injunction halts the President’s
       directive to agencies in how to make agency decisions, before they even make
       those decisions. It also orders agencies to comply with a prior administration’s
       internal guidance document that embodies a certain approach to regulatory
       analysis, even though that document was not mandated by any regulation or
       statute in the first place. The preliminary injunction sweeps broadly and
       prohibits reliance on § 5 of EO 13990, which creates the IWG, a group created
       to advise the President on policy questions in addition to creating the Interim
       Estimates. It is unclear how the Plaintiff States’ qualms with the Interim
       Estimates justify halting the President’s IWG. All of this effectively stops or
       delays agencies in considering SC-GHG in the manner the current
       administration has prioritized within the bounds of applicable law. The
       preliminary injunction’s directive for the current administration to comply
       with prior administrations’ policies on regulatory analysis absent a specific
       agency action to review also appears outside the authority of the federal
       courts. We therefore find the Government Defendants are irreparably
       harmed absent a stay of the injunction. Cf. E.T. v. Paxton, 19 F.4th 760, 770




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       (5th Cir. 2021) (concluding state was irreparably harmed when an injunction
       prevented the state from carrying out public policy and enforcing its own
       laws).
                On the other hand, a stay of the injunction will impose minimal injury
       on the Plaintiff States. In consideration of this factor, the maintenance of the
       status quo is important. See Dayton Bd. of Educ. v. Brinkman, 439 U.S. 1358,
       1359 (1978). The Interim Estimates were published in February 2021. This
       lawsuit was filed in April 2021. The Plaintiff States moved for a preliminary
       injunction in July 2021. And the preliminary injunction was entered in
       February 2022. By the time the preliminary injunction was entered, the
       Interim Estimates had been in place for one year. The status quo at this point
       is the continued use of the Interim Estimates. See E.T., 19 F.4th at 770
       (concluding status quo was leaving state order in effect because it had been
       in effect for nearly four months and plaintiffs alleged a tenuous and
       speculative injury). And because the claimed injury, increased regulatory
       burdens, has yet to occur, the continued use of the Interim Estimates will not
       harm the Plaintiff States until a regulation or agency action is promulgated
       from the actual use of the Interim Estimates. To the extent the agencies will
       use, or are using, the Interim Estimates in reaching a specific final agency
       action, we discern no obstacle to prevent the Plaintiff States from challenging
       a specific agency action in the manner provided by the APA.
                In sum, the Plaintiff States’ claims are based on a generalized
       grievance of the use of Interim Estimates in cost-benefit analyses of
       regulations and agency action. But their claimed injury does not stem from
       the Interim Estimates themselves, it stems from any forthcoming,
       speculative, and unknown regulation that may place increased burdens on
       them and may result from consideration of SC-GHG. We conclude the
       standing inquiry shows the Government Defendants’ likelihood of success




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       on the merits in this appeal, and the other factors, including the public
       interest, favor granting a stay of the injunction.
              The Government Defendants’ motion to stay the preliminary
       injunction pending appeal is GRANTED. The district court’s preliminary
       injunction entered on February 11, 2022 is STAYED pending this appeal.




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